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DISTRICT CO|JRT OF GUAM

JAN25 2013 ny

JE€LNNE e. QulNATA
DISTRICT CoURT oF GUAM ERK OF COHRT

TERRITORY OF GUAM
UNITED STATES OF AMERI CA, CRIMINAL CASE NO. 15-00041
Plaintiffs,
vS. RECEIPT OF EXHIBITS

JUSTIN ROBERT- WHITE CRUZ,

Defendant.

 

 

[ X ] Government’s [ ] Defendant's [ ] Joint

Pursuant to the court’S orders ECF noS. 264 (Final Oi‘der of Forfeitui‘e Re:
Weapons and Ammunition) and 266 (Ol‘der for Destruction of Evidence), 1 hereby
acknowledge receipt of the following exhibits in the above-entitled CaSe, Which are

listed herein:

Exhibit No. Description
403 One (l) Rock River Arms LAR-S .308/7.6?. mm rifle, Serial No.
UT103954 With a Nikon Scope and bipod
40b One (1) AK47 Pistol Serial No. M92PV042234
40¢: One (1) Glock 27.40 caliber handgun Serial No. WAE950

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Name
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Def:)

Ofi`ice/Firm Receiving Exhibits

Date

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I hereby acknowledge receipt oi` the following described cash or other ilcm(s),
which was given into my custody by thc uhovc named individual.

 

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